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     AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations

                                                                                                                        DEC 2 7 2016
                                        United States District Court
                                               SOUTHERN DISTRICT OF CALIFORNIA                                SOU-SIS j&Sijgg ggf F.N.A
                  UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL C ASE
                                                                          (For Revocation of Probation or Supervised Release)
                                V.                                        (For Offenses Committed On or After November 1,1987)
                           OSCAR RUIZ (02)
                                                                             Case Number:        15CR2759-AJB-02

                                                                          David J. Zugman
                                                                          Defendant’s Attorney
     REGISTRATION NO.               50949298

     □-
     THE DEFENDANT:
     IEI admitted guilt to violation of allegation(s) No.        One, Two, Three, Four, Five and Six

     □ was found guilty in violation of allegation(s) No.                                                  after denial of guilty.

     Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

     Allegation Number                 Nature of Violation
                                       nv3, Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime
                  1-4                  Control Act)
                  5-6                  nvl 1, Failure to report change in residence/employment




          Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
     The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
             IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
     change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
     judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
     material change in the defendant’s economic circumstances.

                                                                          December 22. 2016
                                                                          Date of   lition oUSentence


                                                                          HON. Anthony J. Battaglia /
                                                                          UNITED STATES DISTRfCT JUDGE




                                                                                                                     15CR2759-AJB-02
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                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 FOUR (4) MONTHS




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:
 □



       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
       □ at                                  A.M.             on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                    15CR2759-AJB-02
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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS with same and additional conditions imposed.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
□          substance abuse. {Check, if applicable.)
           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
IS         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
□          resides, works, is a student, or was convicted of a qualifying offense. {Check if applicable.)
           The defendant shall participate in an approved program for domestic violence. {Check if applicable.)
□
         If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
      any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
      1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;
      11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
          with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION


           1.   Not enter or reside in the Republic of Mexico without permission of the court or probation
                officer.

           2.    Participate in a program of drug or alcohol abuse treatment, including drug testing and
                counseling, as directed by the probation officer. Allow for reciprocal release of information
                between the probation officer and the treatment provider. May be required to contribute to the
                costs of services rendered in an amount to be determined by the probation officer, based on
                ability to pay.

           3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

           4. Submit your person, property, residence, office or vehicle to a search, conducted by a United
              States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable
              suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
              search may be grounds for revocation; the defendant shall warn any other residents that the
              premises may be subject to searches pursuant to this condition.


           5. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
              up to (120) days pending placement into the “Crash” residential drug treatment program.




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